




02-10-411-CV









 
  
  
   
    
   
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

NO. 02-10-00411-CV

&nbsp;

&nbsp;


 
  
  Rory Newkirk
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  Donnaley, Inc., L.L.C. d/b/a BellaDonna Shoes,
  Tiffanie O'Bryant, and Libbie Roundtree
  
  
  &nbsp;
  
  
  APPELLEES
  
 


&nbsp;

&nbsp;

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&nbsp;

FROM THE 141st
District Court OF Tarrant COUNTY

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MEMORANDUM
OPINION[1] AND
JUDGMENT

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&nbsp;

On April
27, 2011, we notified appellant that his brief had not been filed as required
by Texas Rule of Appellate Procedure 38.6(a).&nbsp; See Tex. R. App. P.
38.6(a).&nbsp; We stated we could dismiss the appeal for want of prosecution unless
appellant or any party desiring to continue this appeal filed with the court
within ten days a response showing grounds for continuing the appeal.&nbsp; See
Tex. R. App. P. 42.3.&nbsp; We have not received any response.

Because
appellant's brief has not been filed, we dismiss the
appeal for want of prosecution.&nbsp; See Tex. R. App. P. 38.8(a), 42.3(b),
43.2(f).

Appellant
shall pay all costs of this appeal, for which let execution issue.

&nbsp;

PER
CURIAM

PANEL:&nbsp; MEIER,
J.; LIVINGSTON, C.J.; and GABRIEL, J.&nbsp; 

DELIVERED:&nbsp; May 26, 2011









[1]See Tex. R. App. P. 47.4.







